Case 1:19-cv-01292-JDB-jay Document 16 Filed 06/05/20 Page 1 of 1                    PageID 39




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION

THE GUARDIAN LIFE INSURANCE
COMPANY OF AMERICA,

       Plaintiff,

v.                                                          No. 1:19-cv-01292-JDB-jay

TERRY MILLER,

      Defendant.
______________________________________________________________________________
              ORDER ADOPTING REPORT AND RECOMMENDATION
                                     AND
           GRANTING PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
______________________________________________________________________________

       This action was brought by the Plaintiff, The Guardian Life Insurance Company of

America (“Guardian”), against the Defendant, Terry Miller, on December 16, 2019. (Docket Entry

(“D.E.”) 1.) On February 18, 2020, the Clerk issued an entry of default as to the Defendant. (D.E.

11.) Three days later, Guardian filed a motion for default judgment (D.E. 12), which was referred

to the magistrate judge (D.E. 14). In a report and recommendation entered May 8, 2020, United

States Magistrate Judge Jon A. York recommended that the motion be granted. (D.E. 15.)

       As no objections to the magistrate judge’s report and recommendation have been filed and

the time for such objections has expired, and upon review of the record, the report and

recommendation is hereby ADOPTED.           The motion for default judgment is GRANTED.

       IT IS SO ORDERED this 5th day of June 2020.

                                             s/ J. DANIEL BREEN
                                             UNITED STATES DISTRICT JUDGE




                                                1
